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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




                Demitrus G Cooper
                1040 Barbey St, #1F
                Brooklyn, NY       11207




Employee Pay Stub                           Check number: 21825                             Pay Period: 09/19/2020 - 09/25/2020         Pay Date: 09/25/2020

Employee                                                                                   SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                               #**_**_ 8769



Earnings and Hours                   Qty          Rate         Current       YTD Amount
Hourly Wages                        40:00        21.25          850.00            850.00

Taxes                                                          Current       YTD Amount
NY - Paid Family Leave                                              -2.30          -2.30
NY - City Resident                                                -27.06          -27.06
Medicare Employee Addl Tax                                           0.00           0.00
Federal Withholding                                               -80.00          -80.00
Social Security Employee                                          -52.70          -52.70
Medicare Employee                                                 -12.33          -12.33
NY - Withholding                                                  -36.90          -36.90
NY - Disability Employee                                           -0.60           -0.60
                                                               -211.89           -211.89

Net Pay                                                         638.11            638.11




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                                  #:   818
        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




                Demitrus G Cooper
                1040 Barbey St, #1F
                Brooklyn, NY       11207




Employee Pay Stub                           Check number: 21928                              Pay Period: 09/26/2020 - 10/02/2020         Pay Date: 10/02/2020

Employee                                                                                     SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***_+* 6769



Earnings and Hours                   Qty          Rate         Current       YTD Amount
Hourly Wages                        32:00        21.25          680.00           1,530.00

Taxes                                                          Current       YTD Amount
NY - Paid Family Leave                                              -1.84            -4.14
NY - City Resident                                                -19.67           -46.73
Medicare Employee Addl Tax                                           0.00             0.00
Federal Withholding                                               -59.00          -139.00
Social Security Employee                                          -42.16           -94.86
Medicare Employee                                                 -12.33           -24.66
NY - Withholding                                                  -26.55           -63.45
NY - Disability Employee                                           -0.60             -1.20
                                                               -162.15           -374.04

Net Pay                                                         517.85           1,155.96




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




                Demitrus G Cooper
                1040 Barbey St, #1F
                Brooklyn, NY       11207




Employee Pay Stub                           Check number: 22122                             Pay Period: 10/03/2020 - 10/09/2020         Pay Date: 10/09/2020

Employee                                                                                    SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                #**_**_ 8769



Earnings and Hours                   Qty          Rate         Current       YTD Amount
Hourly Wages                        40:00        21.25          850.00          2,380.00

Taxes                                                          Current       YTD Amount
NY - Paid Family Leave                                              -2.30           -6.44
NY - City Resident                                                -25.39          -72.12
Medicare Employee Addl Tax                                           0.00            0.00
Federal Withholding                                               -70.00         -209.00
Social Security Employee                                          -52.70         -147.56
Medicare Employee                                                 -12.32          -36.98
NY - Withholding                                                  -34.57          -98.02
NY - Disability Employee                                           -0.60            -1.80
                                                               -197.88           -571.92

Net Pay                                                         652.12           1,808.08




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
               Case 1:23-cv-01675-KAM-TAM
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




                Demitrus G Cooper
                1040 Barbey St, #1F
                Brooklyn, NY       11207




Employee Pay Stub                           Check number: 22113                             Pay Period: 10/10/2020 - 10/16/2020         Pay Date: 10/16/2020

Employee                                                                                    SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                #**_**_ 8769



Earnings and Hours                   Qty          Rate         Current       YTD Amount
Hourly Wages                        40:00        21.25          850.00          3,230.00

Taxes                                                          Current       YTD Amount
NY - Paid Family Leave                                              -2.30           -8.74
NY - City Resident                                                -25.39          -97.51
Medicare Employee Addl Tax                                           0.00            0.00
Federal Withholding                                               -70.00         -279.00
Social Security Employee                                          -52.70         -200.26
Medicare Employee                                                 -12.33          -49.31
NY - Withholding                                                  -34.56         -132.58
NY - Disability Employee                                           -0.60            -2.40
                                                               -197.88           -769.80

Net Pay                                                         652.12          2,460.20




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




                Demitrus G Cooper
                1040 Barbey St, #1F
                Brooklyn, NY       11207




Employee Pay Stub                           Check number: 22241                             Pay Period: 10/17/2020 - 10/23/2020         Pay Date: 10/23/2020

Employee                                                                                    SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                ***_+* 6769



Earnings and Hours                   Qty          Rate         Current       YTD Amount
Hourly Wages                        40:00        21.25            850.00        4,080.00

Taxes                                                          Current       YTD Amount
NY - Paid Family Leave                                              -2.30         -11.04
NY - City Resident                                                -25.39         -122.90
Medicare Employee Addl Tax                                           0.00            0.00
Federal Withholding                                               -72.48         -351.48
Social Security Employee                                          -52.70         -252.96
Medicare Employee                                                  -9.85          -59.16
NY - Withholding                                                  -34.56         -167.14
NY - Disability Employee                                           -0.60            -3.00
                                                               -197.88           -967.68

Net Pay                                                           652.12        3,112.32




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




                Demitrus G Cooper
                1040 Barbey St, #1F
                Brooklyn, NY       11207




Employee Pay Stub                           Check number: 22358                             Pay Period: 10/24/2020 - 10/30/2020         Pay Date: 10/30/2020

Employee                                                                                    SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                #**_**_ 8769



Earnings and Hours                   Qty          Rate         Current       YTD Amount
Hourly Wages                        40:00        21.25          850.00          4,930.00

Taxes                                                          Current       YTD Amount
NY - Paid Family Leave                                              -2.30         -13.34
NY - City Resident                                                -25.39         -148.29
Medicare Employee Addl Tax                                           0.00            0.00
Federal Withholding                                               -70.00         -421.48
Social Security Employee                                          -52.70         -305.66
Medicare Employee                                                 -12.33          -71.49
NY - Withholding                                                  -34.56         -201.70
NY - Disability Employee                                           -0.60            -3.60
                                                               -197.88          -1,165.56

Net Pay                                                         652.12          3,764.44




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




                Demitrus G Cooper
                1040 Barbey St, #1F
                Brooklyn, NY       11207




Employee Pay Stub                           Check number: 22367                             Pay Period: 10/31/2020 - 11/06/2020         Pay Date: 11/06/2020


Employee                                                                                    SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                ***_+* 6769



Earnings and Hours                   Qty          Rate         Current       YTD Amount
Hourly Wages                        32:00        21.25          680.00          5,610.00

Taxes                                                          Current       YTD Amount
NY - Paid Family Leave                                              -1.84         -15.18
NY - City Resident                                                -19.67         -167.96
Medicare Employee Addl Tax                                           0.00            0.00
Federal Withholding                                               -59.00         -480.48
Social Security Employee                                          -42.16         -347.82
Medicare Employee                                                  -9.86          -81.35
NY - Withholding                                                  -26.55         -228.25
NY - Disability Employee                                           -0.60            -4.20
                                                               -159.68          -1,325.24

Net Pay                                                         520.32          4,284.76




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




                Demitrus G Cooper
                1040 Barbey St, #1F
                Brooklyn, NY       11207




Employee Pay Stub                           Check number: 22630                              Pay Period: 11/07/2020 - 11/13/2020         Pay Date: 11/13/2020


Employee                                                                                     SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                 #**_**_ 8769



Earnings and Hours                   Qty          Rate      Current          YTD Amount
Hourly Wages                        40:00        21.25          850.00          6,460.00

Taxes                                                          Current       YTD Amount
NY - Paid Family Leave                                              -2.30          -17.48
NY - City Resident                                                -25.39          -193.35
Medicare Employee Addl Tax                                           0.00             0.00
Federal Withholding                                               -70.00          -550.48
Social Security Employee                                          -52.70          -400.52
Medicare Employee                                                 -12.32           -93.67
NY - Withholding                                                  -34.56          -262.81
NY - Disability Employee                                           -0.60             -4.80
                                                               -197.87          -1,523.11
Adjustments to Net Pay                                      Current          YTD Amount
Ticket Reimbursement                                              -50.00           -50.00
Toll Reimbursement                                                -19.00           -19.00
                                                                  -69.00           -69.00

Net Pay                                                        583.13           4,867.89




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




               Demitrus G Cooper
                1040 Barbey St, #1F
               Brooklyn, NY        11207




Employee Pay Stub                           Check number: 22713                              Pay Period: 11/14/2020 - 11/20/2020            Pay Date: 11/20/2020


Employee                                                                                     SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                 #**_**_ 8769



Earnings and Hours                   Qty          Rate      Current           YTD Amount
Hourly Wages                        40:00        21.25          850.00           7,310.00

Taxes                                                          Current        YTD Amount
NY - Paid Family Leave                                              -2.30          -19.78
NY - City Resident                                                -25.39          -218.74
Medicare Employee Addl Tax                                           0.00             0.00
Federal Withholding                                               -70.00          -620.48
Social Security Employee                                          -52.70          -453.22
Medicare Employee                                                 -12.33          -106.00
NY - Withholding                                                  -34.56          -297.37
NY - Disability Employee                                           -0.60             -5.40
                                                               -197.88           -1,720.99
Adjustments to Net Pay                                      Current           YTD Amount
Ticket Reimbursement                                                                -50.00
Toll Reimbursement                                                                  -19.00
                                                                                    -69.00

Net Pay                                                         652.12           5,520.01




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




               Demitrus G Cooper
                1040 Barbey St, #1F
               Brooklyn, NY        11207




Employee Pay Stub                           Check number: 22827                             Pay Period: 11/21/2020 - 11/27/2020          Pay Date: 11/27/2020


Employee                                                                                    SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                ***_+* 6769



Earnings and Hours                   Qty          Rate      Current          YTD Amount
Hourly Wages                        32:00        21.25          680.00          7,990.00

Taxes                                                          Current       YTD Amount
NY - Paid Family Leave                                             -1.84          -21.62
NY - City Resident                                               -17.99          -236.73
Medicare Employee Addl Tax                                          0.00             0.00
Federal Withholding                                             -49.00           -669.48
Social Security Employee                                         -42.16          -495.38
Medicare Employee                                                 -9.86          -115.86
NY - Withholding                                                 -24.21          -321.58
NY - Disability Employee                                          -0.60             -6.00
                                                               -145.66          -1,866.65
Adjustments to Net Pay                                      Current          YTD Amount
Ticket Reimbursement                                                               -50.00
Toll Reimbursement                                                                 -19.00
                                                                                   -69.00

Net Pay                                                         534.34          6,054.35




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




               Demitrus G Cooper
                1040 Barbey St, #1F
               Brooklyn, NY        11207




Employee Pay Stub                           Check number: 22922                              Pay Period: 11/28/2020 - 12/04/2020          Pay Date: 12/04/2020


Employee                                                                                     SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                 #**_**_ 8769



Earnings and Hours                   Qty          Rate      Current           YTD Amount
Hourly Wages                        40:00        21.25          850.00           8,840.00

Taxes                                                          Current        YTD Amount
NY - Paid Family Leave                                              -2.30          -23.92
NY - City Resident                                                -25.39          -262.12
Medicare Employee Addl Tax                                           0.00             0.00
Federal Withholding                                               -70.00          -739.48
Social Security Employee                                          -52.70          -548.08
Medicare Employee                                                 -12.32          -128.18
NY - Withholding                                                  -34.57          -356.15
NY - Disability Employee                                           -0.60             -6.60
                                                               -197.88           -2,064.53
Adjustments to Net Pay                                      Current           YTD Amount
Ticket Reimbursement                                                                -50.00
Toll Reimbursement                                                                  -19.00
                                                                                    -69.00

Net Pay                                                         652.12           6,706.47




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




               Demitrus G Cooper
                1040 Barbey St, #1F
               Brooklyn, NY        11207




Employee Pay Stub                           Check number: 7538                                Pay Period: 12/05/2020 - 12/11/2020          Pay Date: 12/11/2020


Employee                                                                                      SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                  #**_**_ 8769



Earnings and Hours                   Qty          Rate      Current           YTD Amount
Hourly Wages                        40:00        21.25           850.00          9,690.00

Taxes                                                          Current        YTD Amount
NY - Paid Family Leave                                              -2.30           -26.22
NY - City Resident                                                -25.39           -287.51
Medicare Employee Addl Tax                                           0.00              0.00
Federal Withholding                                               -70.00           -809.48
Social Security Employee                                          -52.70           -600.78
Medicare Employee                                                 -12.33           -140.51
NY - Withholding                                                  -34.56           -390.71
NY - Disability Employee                                           -0.60              -7.20
                                                                 -197.88         -2,262.41
Adjustments to Net Pay                                      Current           YTD Amount
Ticket Reimbursement                                                                -50.00
Toll Reimbursement                                                                  -19.00
                                                                                    -69.00

Net Pay                                                          652.12          7,358.59




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




               Demitrus G Cooper
                1040 Barbey St, #1F
               Brooklyn, NY        11207




Employee Pay Stub                           Check number: 23782                               Pay Period: 12/12/2020 - 12/18/2020          Pay Date: 12/18/2020


Employee                                                                                      SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                  #**_**_ 8769



Earnings and Hours                   Qty          Rate      Current           YTD Amount
Hourly Wages                        40:00        21.25          850.00           10,540.00

Taxes                                                          Current        YTD Amount
NY - Paid Family Leave                                              -2.30           -28.52
NY - City Resident                                                -25.39           -312.90
Medicare Employee Addl Tax                                           0.00              0.00
Federal Withholding                                               -70.00           -879.48
Social Security Employee                                          -52.70           -653.48
Medicare Employee                                                 -12.32           -152.83
NY - Withholding                                                  -34.57           -425.28
NY - Disability Employee                                           -0.60              -7.80
                                                               -197.88           -2,460.29
Adjustments to Net Pay                                      Current           YTD Amount
Ticket Reimbursement                                                                -50.00
Toll Reimbursement                                                                  -19.00
                                                                                    -69.00

Net Pay                                                         652.12            8,010.71




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




                   Demitrus G Cooper
                   1040 Barbey St, #1F
                   Brooklyn, NY     11207




Employee Pay Stub                            Check number: 23901                                Pay Period: 12/19/2020 - 12/25/2020             Pay Date: 12/24/2020


Employee                                                                                       SSN
Demitrus G Cooper,    1040 Barbey St, #1F, Brooklyn, NY 11207                                  ***_**_ 6769



Earnings and Hours                    Qty          Rate         Current        YTD Amount      Sick Time                                 Accrued           Used        Available
Hourly Wages                         32:00        21.25            680.00         11,220.00    Current                                       0:00           8:00           -8:00
Holiday/Sick Pay                      8:00        21.25            170.00            170.00     YTD                                          0:00
                                     40:00                         850.00         11,390.00
Taxes                                                           Current        YTD Amount
NY - Paid Family Leave                                               -2.30           -30.82
NY - City Resident                                                 -25.39           -338.29
Medicare Employee Addl Tax                                            0.00              0.00
Federal Withholding                                                -70.00           -949.48
Social Security Employee                                           -52.70           -706.18
Medicare Employee                                                  -12.33           -165.16
NY - Withholding                                                   -34.56           -459.84
NY - Disability Employee                                            -0.60              -8.40
                                                                -197.88           -2,658.17
Adjustments to Net Pay                                        Current          YTD Amount
Ticket Reimbursement                                                                 -50.00
Toll Reimbursement                                                                   -19.00
                                                                                     -69.00

Net Pay                                                            652.12          8,662.83




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
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                                                                                    #: 2055
                                                                                   #:   831
        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




                   Demitrus G Cooper
                   1040 Barbey St, #1F
                   Brooklyn, NY 11207




Employee Pay Stub                            Check number: 23991                               Pay Period: 12/25/2020 - 12/31/2020             Pay Date: 12/31/2020

Employee                                                                                      SSN
Demitrus G Cooper,    1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***_**_ 6769



Earnings and Hours                    Qty          Rate         Current       YTD Amount      Sick Time                                 Accrued           Used        Available
Hourly Wages                         32:00        21.25            680.00        11,900.00    Current                                       0:00           0:00           -8:00
Holiday/Sick Pay                                                                    170.00     YTD                                          0:00
                                     32:00                         680.00        12,070.00
Taxes                                                           Current       YTD Amount
NY - Paid Family Leave                                              -3.24           -34.06
NY - City Resident                                                -17.99           -356.28
Medicare Employee Addl Tax                                           0.00              0.00
Federal Withholding                                              -47.60            -997.08
Social Security Employee                                          -42.16           -748.34
Medicare Employee                                                  -9.86           -175.02
NY - Withholding                                                  -24.21           -484.05
NY - Disability Employee                                           -0.60              -9.00
                                                                -145.66          -2,803.83
Adjustments to Net Pay                                        Current         YTD Amount
Ticket Reimbursement                                                                -50.00
Toll Reimbursement                                                                  -19.00
                                                                                    -69.00

Net Pay                                                            534.34         9,197.17




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
            Case 1:23-cv-01675-KAM-TAM
            Case 1:23-cv-01675-KAM-TAM                                     Document 79-2
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                                                                                   #: 2056
                                                                                  #:   832
        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




               Demitrus G Cooper
                1040 Barbey St, #1F
               Brooklyn, NY        11207




Employee Pay Stub                           Check number: 1003                              Pay Period: 01/02/2021 - 01/08/2021             Pay Date: 01/08/2021

Employee                                                                                   SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                               ***_**_ 6769



Earnings and Hours                   Qty          Rate         Current       YTD Amount    Sick Time                                 Accrued           Used        Available
Hourly Wages                        40:00        21.25           850.00           850.00   Current                                       0:00            0:00          -8:00
                                                                                            YTD                                          0:00
Taxes                                                          Current       YTD Amount
NY - Paid Family Leave                                            -4.34            -4,34
NY - City Resident                                                -25.39          -25.39
Medicare Employee Addl Tax                                          0.00            0.00
Federal Withholding                                               -69.00          -69.00
Social Security Employee                                          -52.70          -52.70
Medicare Employee                                                 -12.33          -12.33
NY - Withholding                                                  -34.56          -34.56
NY - Disability Employee                                           -0.60           -0.60
                                                                 -198.92         -198.92

Net Pay                                                          651.08           651.08




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
            Case 1:23-cv-01675-KAM-TAM
            Case 1:23-cv-01675-KAM-TAM                                      Document 79-2
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                                                                                    #: 2057
                                                                                   #:   833
        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




               Demitrus G Cooper
                1040 Barbey St, #1F
               Brooklyn, NY        11207




Employee Pay Stub                           Check number: 1015                                Pay Period: 01/09/2021 - 01/15/2021             Pay Date: 01/15/2021

Employee                                                                                     SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***_**_ 6769



Earnings and Hours                   Qty          Rate         Current        YTD Amount     Sick Time                                 Accrued           Used        Available
Hourly Wages                        40:00        21.25           850.00           1,700.00   Current                                       0:00            0:00          -8:00
                                                                                              YTD                                          0:00
Taxes                                                          Current        YTD Amount
NY - Paid Family Leave                                             -4.34             -8.68
NY - City Resident                                                -25.39           -50.78
Medicare Employee Addl Tax                                           0.00             0.00
Federal Withholding                                               -69.00          -138.00
Social Security Employee                                          -52.70          -105.40
Medicare Employee                                                 -12.32           -24.65
NY - Withholding                                                  -34.56           -69.12
NY - Disability Employee                                            -0.60            -1.20
                                                                 -198.91          -397.83

Net Pay                                                          651.09           1,302.17




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
            Case 1:23-cv-01675-KAM-TAM
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                                                                                    #: 2058
                                                                                   #:   834
        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




               Demitrus G Cooper
                1040 Barbey St, #1F
               Brooklyn, NY        11207




Employee Pay Stub                           Check number: 1025                                Pay Period: 01/16/2021 - 01/22/2021             Pay Date: 01/22/2021

Employee                                                                                     SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***_**_ 6769



Earnings and Hours                   Qty          Rate         Current        YTD Amount     Sick Time                                 Accrued           Used        Available
Hourly Wages                        32:00        21.25           680.00          2,380.00    Current                                       0:00            0:00          -8:00
                                                                                              YTD                                          0:00
Taxes                                                          Current        YTD Amount
NY - Paid Family Leave                                              -3.47          -12.15
NY - City Resident                                                -17.99           -68.77
Medicare Employee Addl Tax                                           0.00             0.00
Federal Withholding                                              -49.00           -187.00
Social Security Employee                                          -42.16          -147.56
Medicare Employee                                                  -9.86           -34.51
NY - Withholding                                                  -24.21           -93.33
NY - Disability Employee                                           -0.60             -1.80
                                                                 -147.29          -545.12

Net Pay                                                          532.71           1,834.88




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
            Case 1:23-cv-01675-KAM-TAM
            Case 1:23-cv-01675-KAM-TAM                                      Document 79-2
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                                                                                    #: 2059
                                                                                   #:   835
        Fire and Ice Trucking Corp
        540 Osborn Street
        Apt 1D
        Brooklyn, NY 11212
        347-452-4157




               Demitrus G Cooper
                1040 Barbey St, #1F
               Brooklyn, NY        11207




Employee Pay Stub                           Check number: 1035                                Pay Period: 01/23/2021 - 01/29/2021             Pay Date: 01/29/2021

Employee                                                                                     SSN
Demitrus G Cooper,   1040 Barbey St, #1F, Brooklyn, NY 11207                                 ***_**_ 6769



Earnings and Hours                   Qty          Rate         Current        YTD Amount     Sick Time                                 Accrued           Used        Available
Hourly Wages                        40:00        21.25           850.00          3,230.00    Current                                       0:00            0:00          -8:00
                                                                                              YTD                                          0:00
Taxes                                                          Current        YTD Amount
NY - Paid Family Leave                                              4.34           -16.49
NY - City Resident                                                -25.39           -94.16
Medicare Employee Addl Tax                                           0.00             0.00
Federal Withholding                                               -69.00          -256.00
Social Security Employee                                          -52.70          -200.26
Medicare Employee                                                 -12.33           -46.84
NY - Withholding                                                  -34.56          -127.89
NY - Disability Employee                                           -0.60             -2.40
                                                                 -198.92          -744.04

Net Pay                                                          651.08          2,485.96




Fire and Ice Trucking Corp, 540 Osborn Street, Apt 1D, Brooklyn, NY 11212, 347-452-4157, Fire and Ice Trucking
